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IN THE UNITED sTATEs DISTRICT CoURT `§L 99
FoR THE wEsTERN DISTRICT oF TEi\n\nsssEl£’5 *'PR 26 p,, 3_, h
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UNITED sTATEs oF AMERICA, ) WD 0 -\:’5,. QFST. 91
) '“MSON
Plaintiff, )
)
vs. ) No. 95-10014-01-'r
)
DANNY H. HASTINGS, )
)
Defendant. )

 

ORDER DENYING MOTION FOR NUNC PRO TUNC ORDER

 

On April 22, 2005, defendant Danny I-I. Hastings, Bureau of Prisons (“BOP”) inmate
registration number 14724-0’76, an inmate at the Federal Correctional Institution in
Sandstone, Minnesota, filed a motion in his closed criminal case seeking an order amending
the judgment of conviction nunc pro tunc so that he might be credited With approximately
five months served in federal detention during the disposition of the charges in this case.

On April 26, 1995, a federal grand jury returned a four-count indictment charging
Hastings and a csc-defendant with burglary of a post office in violation of` 18 U.S.C. § 21 15,
theft of postal money orders and theft of a postal money order imprinter in violation of 18
U.S.C. § 500, and theft of postal service property in violation of 18 U.S.C. § 1707. Hastings
entered a plea of guilty to all four counts on July 7, 1995. The Court conducted a sentencing
hearing on Septernber 26, 1995, at Which time Hastings Was sentenced to thirty months

imprisonment on each count to run concurrently, but to run consecutively to any previous

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state or federal sentence, followed by a two-year period of supervised reiease. Judgrnent was
entered on September 30, 1995. No direct appeal was taken.

In his motion, Hastings states that he was serving a sentence previously imposed by
the State of Tennessee when he was remanded to federal custody for the disposition of the
charges in this case. He was in federal custody for five months, from May l, 1995 to
September 29, 1995, before being returned to State custody. Defendant asserts that he has
been denied sentence credit for that five month period by both the State of Tennessee and
the BOP. He asks the Court to issue an order amending the judgment in this case so that he
can receive credit for that time on his federal sentence

Hastings cites no authority for the proposition that the Court has the authority to alter
a criminal sentence that has become final. While clerical errors in a judgment may be
corrected at any time pursuant Fed. R. Crim. P. 3 6, the modification sought by the defendant
in this case does not qualify merely as a clerical error.' There are strict limits on the Court’s
power to otherwise modify a sentence after it has been imposed Eighteen U.S.C. § 3582(c)
states as follows:

The court may not modify a term of imprisonment once it has been
imposed except that-
(l) in any case_
(A) the court, upon motion of the Director of the Bureau of
Prisons, may reduce the term of imprisonment, after considering the

factors set forth in section 3553(a) to the extent that they are
applicable, if it finds that-

 

l Rule 35(a) allows for correction of “arithmetical, technical, or other clear error,” but only within seven

days after sentencing

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(i) extraordinary and compelling reasons warrant
such a reduction;

(ii) the defendant is at ieast 70 years of age, has
served at least 30 years in prison, pursuant to a sentence
imposed under section 3559(c), for the offense or offenses for
which the defendant is currently imprisoned, and a
determination has been made by the Director of the Bureau of
Prisons that the defendant is not a danger to the safety of any
other person or the community, as provided under section
3142(§);

and that such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission; and

(B) the court may modify an imposed term of imprisonment to

the extent otherwise expressly permitted by statute or by Rule 35 of the

Federal Rules of Criminal Procedure; and

(2) in the case of a defendant who has been sentenced to a term of
imprisonment based on a sentencing range that has subsequently been lowered
by the Sentencing Commission pursuant to 28 U.S.C. 994(0), upon motion of
the defendant or the Director of the Bureau of Prisons, or on its own motion,
the court may reduce the term of imprisonment, after considering the factors
set forth in section 3553(a) to the extent that they are applicabie, if such a
reduction is consistent with applicable policy statements issued by the
Sentencing Commission.

None of these provisions are applicable in this case.
As the Court has no power to modify the defendant’s sentence in the manner

requested, the motion for a nunc pro tunc order is DENIED.

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JAMES D. TODD
UNITED srATEs DISTRICT JUDGE

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DATE ’

IT IS SO ORDERED.

 

n.--A

D sTRlC COURT - WESERN DISRITC oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 1:95-CR-100]4 was distributed by fax, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

